             Case 9:25-cv-80890-WM Document
JS 44 (Rev. 03/24)                     CIVIL1-1COVER
                                                EnteredSHEET
                                                        on FLSD Docket 07/15/2025 Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form , approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civi l docket sheet. (SliE INSTRUCTIONS ON NEXT PA GE OF ]HIS FOl?M.)
I. (a) PLAINTIFFS                                                                                                              DEFENDANTS
            David Morris Clayman , Pro Se                                                                                        Bessant, United States, Congress, Powell , and Dodaro

     (b) County of Residence of First Listed Plaintiff                    Palm Beach County                                    County of Residence of First Listed Defendant
                                (lcXCLPT IN U.S. PL4INJJ/ .-F ( ASL:S)                                                                                  (IN U.S. PLAIN7JFF CASFS ONl,Y)
                                                                                                                               NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.

     (C)   Attorneys (Firm Name, Address. and Telephone Numher)                                                                 Attorneys (!f Known)




If. BASIS OF JURISDICTION (/'lace an "X " in One Hox Only)                                                   If I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One /Jax.for Plaimiff
                                                                                                                         (For Diversity Cases Only)                                               and One Rox/or Defendant)
        U.S. Government                          Federal Question                                                                                 PTF                  DEF                                          PTF     DEF
          PlaintifT                                (U.S. Government Nol a Party)                                   Citizen of This State         D I                  □          Incorporated or Principal Place    D 4     0 4
                                                                                                                                                                                   of Business In This State

0 2 U.S. Government                  0    4      Diversity                                                          Citizen of Another State              D    2      D     2    Incorporated and Principal Place               □
           Defendant                               (Indicate Citizenship of Parties in Item Ill)                                                                                   of Business In Another State

                                                                                                                    Citizen or Subject of a               D 3         D     3    Foreign Nation
                                                                                                                      Foreign Country




ij
  110 Insurance                                                                PERSONAL INJURY                                                                                                  375 False Claims Act
  120 Marine                             3 IO Airplane                      D 365 Personal Injury -                                                                                             376 Qui Tam (31 USC
  130 Miller Act                         315 Airplane Product                      Product Liability                                                                                                3729(a))
  140 Negotiable lnstmment                    Liability                     D 367 Health Care/                                                                l---;;-;;;-r,;i,l;l-':T'"""".= 17 400 State Reapportiomnent
  150 Recovery of Overpayment            320 Assault, Libel &                      Pharmaceutical                                                             ~:::...J!:!!:!!!!!WU!~!!.!L!!!~U 4 10 Antitrust
       & Enforcement of Judgment              Slander                              Personal Injury                                                                                                             430 Banks and Banking
D 151 Medicare Act                       330 Federal Employers'                    Product Liability                                                                                                           450 Commerce
D 152 Recovery of Defaulted                   Liability                     D 368 Asbestos Personal                                                                  835 Patent - Abbreviated                  460 Deportation
       St udent Loans                    340 Marine                                 Injury Product                                                                       New Drug Application                  4 70 Racketeer Influenced and
       (Excludes Veterans)                                                          Liability                                                                        840 Trademark                                  Corrupt Organizations
D 153 Recovery of Overpayment                Liability                       PERSONAL PROPERTY                                                                       880 Defend Trade Secrets                  480 Consumer Credit
       of Veteran ' s Benefits           350 Motor Vehicle                  D 370 Other Fraud                                                                            Act of20 16                                ( 15 USC 1681 or 1692)
DI 60 Stockholders' Suits                355 Motor Vehicle                  D 3 71 Trnth in Lending                                                                                                            485 Telephone Consumer
D 190 Other Contract                         Product Liability              D 380 Other Personal                       720 Labor/Management                                                                         Protection Act
D I 95 Contract Product Liability                                                  Property Damage                          Relations                                861 HIA ( l 395fl)
D 196 Franchise                                                             D 385 Property Damage                      740 Railway Labor Act                         862 Bl ack Lung (923)                     850 Securities/Commodities/
                                                                                   Product Liabi li ty                 75 1 Fam ily and Medical                      863 DIWC/DIWW (405(g))                        Exchange
                                                                                                                            Leave Act                                864 SSID Title XVI                        890 Other Statutory Actions
                                                                                                                       790 Other Labor Litigation                    865 RS I (405(g))
  2 10 Land Condemnation            • 440 Other Civil Rights                                                           79 I Employee Retirement                                                                893 Environmental Matters
D 220 Foreclosure                     441 Votin g                                                                           Income Security Act                                                                895 Freedom of lnfonnation


§ 230 Rent Lease & Ejectment
  240 Torts to Land
  245 Tort Product Liability
□ 290 All Other Real Property
                                      442 Employment
                                      443 Housin g/
                                          Accommodations
                                      445 Amer. w/Disabilities -
                                                                                 5 JO Motions to Vacate
                                                                                      Sentence
                                                                                 530 General
                                                                                 535 Death Penalty
                                                                                                                                                                     870 Taxes (U S. Plaintiff
                                                                                                                                                                         or Defendant)
                                                                                                                                                                     871 IRS- Third Party
                                                                                                                                                                          26 USC 7609
                                                                                                                                                                                                                   Act




                                          Employment                             Other:
                                      446 Amer. w/Disabilities -                 540 Mandamus & Other
                                          Other                                  550 Civil Rights
                                      448 Education                              555 Pri son Condition

                                                                                      Conditions of
                                                                                      Confinement
V. ORIGIN (Place an "X" in One Rax Only)
0 I Original              D 2 Removed from                     □ 3         Remanded from                   D 4 Reinstated or
        Proceeding              State Court                                Appellate Court                          Reopened

                                          Cite the U.S. Civ il Statute under which you are filing (Do 1101 cilej11risdictio11al statutes 1111/ess diversity):
                                              RFRA (42 U.S.C. § 2000bb-1(c)), 1st Amendment Free Exerci se & Establishment Clauses, 5th Amendment Takings Clause & Due Process
VI. CAUSE OF ACTION Brief description of cause:
                                              Challenge under RFRA and the 1st and 5th Amendments to the mandatory printing of the sacred form of G-d's name on U.S. currency as a substantial burden on religious exercise .

VII. REQUESTED IN                         0       CHECK IF THIS IS A CLASS ACTION                                       DEMAND$                                              CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RUL E 23 , F.R.Cv.P.                                             $18,000 USD                                         JURY DEMAND:                        □ Yes          O No
VIII. RELATED CASE(S)
                                                (See inst n1c / iam) :
      IF ANY                                                                 JUDGE             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ DOCKET NUMBER _ _ __ _ _ _ _ _ __
DATE                                                                             SIGNATURE OF ATTORNEY OF RECORD
 July 5, 2025
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                               APPL YING IFP                                             JUDGE                                      MAG . JUDGE
